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 5
     Attorney for Defendant
 6             JAYCEE BRYANT
 7
                       IN THE UNITED STATES DISTRICT COURT
 8
                      FOR THE EASTERN DISTRICT OF CALIFORNIA
 9

10
     UNITED STATES OF AMERICA,             ) Case No. 1:14CR00154 LJO
11                                         )
                  Plaintiff,               )
12                                         ) STIPULATION AND ORDER
            vs.                            )
13                                         ) TO ADVANCE SENTENCING HEARING
     JAYCEE BRYANT,                        )
14                                         ) Date: January 20, 2015
                  Defendant.               )
15                                         ) Time: 8:30 am
                                           )
16                                         ) Courtroom: 4
                                           )
17                                         )
                                           )
18

19
     TO:    THE HONORABLE JUDGE LAWRENCE J. O’NEILL, and TO THE UNITED
20
            STATES ATTORNEYBEJAMIN WAGNER AND AUSA KIMBERLY SANCHEZ:
21
            IT IS HEREBY STIPULATED by and between the parties hereto
22

23   through their respective counsel that the sentencing hearing in

24   the above captioned matter now set for Monday, February 9, 2015,
25
     at 8:30 a.m. be advanced to Tuesday, January 20, 2015, at 8:30
26
     a.m.    This request is made by both counsel with the intention of
27
     conserving time and resources for both parties and the court.
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 1   IT IS SO STIPULATED.
 2
                                  Respectfully submitted,
 3

 4
     Dated: January 9, 2015       by:   /Steven L. Crawford/
 5
                                        Steven L. Crawford
 6                                      Attorney for Defendant
                                        JAYCEE BRYANT
 7
     Dated: January 9, 2015       by:   /Kimberly A. Sanchez/
 8
                                        Kimberly A. Sanchez
 9                                      Assistant United States Attorney

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16                                      ORDER
17
          Based upon the stipulation of the parties and good cause
18
     appearing therefor, it is hereby ORDERED that the date of the
19
     sentencing hearing of the defendant in the above entitled case
20

21   be advanced from Monday, February 9, 2015, at 8:30 am to

22   Tuesday, January 20, 2015, at 8:30 am.
23

24   IT IS SO ORDERED.

25     Dated:   January 9, 2015                 /s/ Lawrence J. O’Neill
26
                                           UNITED STATES DISTRICT JUDGE

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